                Case:
ILND 450 (Rev. 10/13)    1:18-cv-01367
                      Judgment in a Civil Action   Document #: 48 Filed: 06/14/19 Page 1 of 1 PageID #:488

                                         IN THE UNITED STATES DISTRICT COURT
                                                       FOR THE
                                            NORTHERN DISTRICT OF ILLINOIS

ABDELRAHMAN F. BADER,
Plaintiff(s),

v.                                                                  Case No. 18-cv-1367
                                                                    Judge Sharon Johnson Coleman
NAVIENT SOLUTIONS, LLC,
Defendant(s).

                                                     JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                    in favor of plaintiff(s)
                    and against defendant(s)
                    in the amount of $       ,

                              which          includes        pre–judgment interest.
                                             does not include pre–judgment interest.

          Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

          Plaintiff(s) shall recover costs from defendant(s).


                    in favor of defendant(s) Navient Solutions, LLC
                    and against plaintiff(s) Abdelrahman F. Bader.

          Defendant(s) shall recover costs from plaintiff(s).


                    other:

This action was (check one):

     tried by a jury with Judge      presiding, and the jury has rendered a verdict.
     tried by Judge      without a jury and the above decision was reached.
     decided by Judge Sharon Johnson Coleman on a motion


Date: 6/14/2019                                                  Thomas G. Bruton, Clerk of Court

                                                                 Claire E. Newman, Deputy Clerk
